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     Water Supply and Storage Company, a Colorado non-profit corporation; Keith W. Amen; Feit Family Farms II, LLP; Longs Peak Dairy, LLC; Gregory S. Walker; Darryl G. Woods; and Sue A. Woods, Petitioners  v.  Simon Contractors, Inc. a Wyoming corporation and Cactus Hill Ranch Company, a Colorado corporation. Respondents No. 24SC4Supreme Court of Colorado, En BancAugust 19, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA1815
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    